Case 1:17-cv-20831-DPG Document 39 Entered on FLSD Docket 11/14/2017 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 1:17-cv-20831-DPG


  NORMA ROBLES,

                  Plaintiff,
  vs.

  SETERUS, INC.,

              Defendant.
  ________________________________________/

        JOINT STIPULATION FOR FINAL ORDER OF DISMISSAL WITH PREJUDICE

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and having amicably resolved all matters in

  controversy, the parties jointly stipulate to a Dismissal with Prejudice of this action with each party

  to bear its own attorney’s fees and costs. The Court is respectfully requested to retain jurisdiction

  solely for the purpose of enforcing the settlement agreement should the need arise. See Anago

  Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012).




  AM 67191859.2
Case 1:17-cv-20831-DPG Document 39 Entered on FLSD Docket 11/14/2017 Page 2 of 3




                           CONSENT OF COUNSEL FOR DEFENDANT

          Pursuant to Rule 3J (3) of the Administrative Procedures of the United States District Court

  for the Southern District of Florida, the undersigned counsel for Plaintiff represents to the Court

  that counsel for Defendant has authorized him to affix their electronic signature to this Joint

  Stipulation for Final Order of Dismissal with Prejudice.


   /s/Anthony C. Norman_______                               /s/ Christopher P. Hahn
   Anthony C. Norman, Esq.                                   Christopher P. Hahn, Esq.
   Florida Bar No.: 112105                                   Florida Bar No.: 87577
   Anthony@fight13.com                                       chahn@mauricewutscher.com
   Loan Lawyers, LLC                                         Maurice Wutscher, LLP
   2150 S. Andrews Ave., 2nd Floor                           110 E. Broward Blvd., Suite 1700
   Ft. Lauderdale, FL 33316                                  Fort Lauderdale, FL 33301
   Telephone: (954) 523-4357                                 Telephone: (772) 237-3410
   Facsimile: (954) 581-2786                                 Facsimile: (866) 581-9302

   Counsel for Plaintiff                                     Counsel for Defendant




  AM 67191859.2
Case 1:17-cv-20831-DPG Document 39 Entered on FLSD Docket 11/14/2017 Page 3 of 3




                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
  filed on November 14, 2017 with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se parties identified
  on the Service List below either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.



                                                LOAN LAWYERS, LLC
                                                Attorneys for Plaintiff
                                                2150 S. Andrews Avenue, 2nd Floor
                                                Fort Lauderdale, Florida 33316
                                                Telephone: (954) 523-4357
                                                Facsimile: (954) 581-2786

                                                /s/ Anthony C. Norman___________
                                                Anthony C. Norman, Esq.
                                                Florida Bar No.: 112105
                                                anthony@fight13.com




  AM 67191859.2
